                            Case 08-30952 Document 1 Filed in TXSB on 02/13/08 Page 1 of 48
B1 (Official Form 1) (12/07)
                                            UNITED STATES BANKRUPTCY COURT
                                               SOUTHERN DISTRICT OF TEXAS                                                                                            Voluntary Petition
                                                    HOUSTON DIVISION
Name of Debtor (if individual, enter Last, First, Middle):                                           Name of Joint Debtor (Spouse) (Last, First, Middle):
Jones,Gwendolyn Denise

All Other Names used by the Debtor in the last 8 years                                               All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                          (include married, maiden, and trade names):
aka Gwendolyn Delgado



Last four digits of Social-Security/Complete EIN or other Tax-I.D. No. (if more than                 Last four digits of Social-Security/Complete EIN or other Tax-I.D. No. (if more than
one, state all):     xxx-xx-9936                                                                     one, state all):
Street Address of Debtor (No. and Street, City, and State):                                          Street Address of Joint Debtor (No. and Street, City, and State):
1506Taverton Dr
Channelview, TX
                                                                          ZIP CODE                                                                                                ZIP CODE
                                                                            77530
County of Residence or of the Principal Place of Business:                                           County of Residence or of the Principal Place of Business:
Harris
Mailing Address of Debtor (if different from street address):                                        Mailing Address of Joint Debtor (if different from street address):



                                                                          ZIP CODE                                                                                                ZIP CODE


Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                                  ZIP CODE


                Type of Debtor                                 Nature of Business                                   Chapter of Bankruptcy Code Under Which
              (Form of Organization)                              (Check one box.)                                     the Petition is Filed (Check one box.)
                 (Check one box.)
                                                     ¨    Health Care Business
                                                                                                     þ       Chapter 7
 þ      Individual (includes Joint Debtors)          ¨    Single Asset Real Estate as defined
                                                          in 11 U.S.C. § 101(51B)
                                                                                                     ¨       Chapter 9                                       ¨ Chapter  15 Petition for Recognition
                                                                                                                                                               of a Foreign Main Proceeding
        See Exhibit D on page 2 of this form.
                                                     ¨    Railroad                                   ¨       Chapter 11
 ¨      Corporation (includes LLC and LLP)                                                           ¨       Chapter 12                                      ¨ Chapter 15 Petition for Recognition
                                                     ¨    Stockbroker                                                                                              of a Foreign Nonmain Proceeding
 ¨      Partnership
                                                     ¨    Commodity Broker                           ¨       Chapter 13

 ¨      Other (If debtor is not one of the above
        entities, check this box and state type
                                                     ¨    Clearing Bank                                                                     Nature of Debts
                                                                                                                                            (Check one box.)
        of entity below.)                            ¨    Other
                                                                 Tax-Exempt Entity                   þ       Debts are primarily consumer
                                                                                                             debts, defined in 11 U.S.C.
                                                                                                                                                             ¨     Debts are primarily
                                                                                                                                                                   business debts.
                                                             (Check box, if applicable.)                     § 101(8) as "incurred by an
                                                          Debtor is a tax-exempt organization                individual primarily for a
                                                     ¨    under Title 26 of the United States                personal, family, or house-
                                                          Code (the Internal Revenue Code).                  hold purpose."
                              Filing Fee (Check one box.)                                                                                 Chapter 11 Debtors
                                                                                                     Check one box:
 þ      Full Filing Fee attached.
                                                                                                     ¨       Debtor is a small business debtor as defined by 11 U.S.C. § 101(51D).
                                                                                                     ¨       Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
 ¨      Filing Fee to be paid in installments (applicable to individuals only). Must attach
        signed application for the court's consideration certifying that the debtor is               Check if:
        unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                ¨       Debtor's aggregate noncontigent liquidated debts (excluding debts owed to
                                                                                                             insiders or affiliates) are less than $2,190,000.
        Filing Fee waiver requested (applicable to chapter 7 individuals only). Must
 ¨      attach signed application for the court's consideration. See Official Form 3B.
                                                                                                     Check all applicable boxes:
                                                                                                             A plan is being filed with this petition.
                                                                                                     ¨       Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                     ¨       of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                                THIS SPACE IS FOR
                                                                                                                                                                       COURT USE ONLY
 ¨    Debtor estimates that funds will be available for distribution to unsecured creditors.
 þ    Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
      there will be no funds available for distribution to unsecured creditors.
 Estimated Number of Creditors
 þ
 1-49
             ¨
             50-99
                          ¨
                          100-199
                                         ¨
                                         200-999
                                                         ¨
                                                         1,000-
                                                                          ¨
                                                                          5,001-
                                                                                           ¨
                                                                                           10,001-
                                                                                                                ¨
                                                                                                                25,001-
                                                                                                                                    ¨
                                                                                                                                    50,001-
                                                                                                                                                         ¨
                                                                                                                                                         Over
                                                         5,000            10,000           25,000               50,000              100,000              100,000
 Estimated Assets
 ¨           ¨            þ              ¨               ¨                ¨                ¨                    ¨                   ¨                    ¨
 $0 to    $50,001 to $100,001 to $500,001                $1,000,001       $10,000,001      $50,000,001          $100,000,001        $500,000,001 More than
 $50,000 $100,000 $500,000       to $1 million           to $10 million   to $50 million   to $100 million      to $500 million     to $1 billion $1 billion
 Estimated Liabilities
 ¨           ¨            þ              ¨               ¨                ¨                ¨                    ¨                   ¨                    ¨
 $0 to   $50,001 to $100,001 to $500,001                 $1,000,001       $10,000,001      $50,000,001          $100,000,001        $500,000,001 More than
 $50,000 $100,000 $500,000      to $1 million            to $10 million   to $50 million   to $100 million      to $500 million     to $1 billion $1 billion
Computer software provided by LegalPRO Systems, Inc., San Antonio, Texas (210) 561-5300, Copyright 1996-2007 (Build 9.0.4.1, ID 1323212188)
                           Case 08-30952 Document 1 Filed in TXSB on 02/13/08 Page 2 of 48
B1 (Official Form 1) (12/07)                                                                                                                                                     Page 2
 Voluntary Petition                                                                         Name of Debtor(s):    Gwendolyn Denise Jones
 (This page must be completed and filed in every case.)
                           All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
Location Where Filed:                                                                      Case Number:                                   Date Filed:


Location Where Filed:                                                                      Case Number:                                   Date Filed:


        Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor                                     (If more than one, attach additional sheet.)
Name of Debtor:                                                                            Case Number:                                   Date Filed:


District:                                                                                  Relationship:                                  Judge:


                                         Exhibit A                                                                                 Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                               (To be completed if debtor is an individual
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)                                  whose debts are primarily consumer debts.)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)         I, the attorney for the petitioner named in the foregoing petition, declare that I have
                                                                                            informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13
                                                                                            of title 11, United States Code, and have explained the relief available under each
                                                                                            such chapter. I further certify that I have delivered to the debtor the notice
 ¨      Exhibit A is attached and made a part of this petition.
                                                                                            required by 11 U.S.C. § 342(b).



                                                                                            X     /s/ O. Miller White                                                02/13/2008
                                                                                                 O. Miller White                                                        Date
                                                                                     Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

 ¨      Yes, and Exhibit C is attached and made a part of this petition.

 þ      No.

                                                                                     Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
      þ Exhibit D completed and signed by the debtor is attached and made a part of this petition.
 If this is a joint petition:
        ¨ Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.
                                                                   Information Regarding the Debtor - Venue
                                                                          (Check any applicable box.)

 þ      Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
        preceding the date of this petition or for a longer part of such 180 days than in any other District.


 ¨      There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

 ¨      Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
        principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this District,
        or the interests of the parties will be served in regard to the relief sought in this District.

                                      Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                               (Check all applicable boxes.)
 ¨      Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                                                                        (Name of landlord that obtained judgment)




                                                                                        (Address of landlord)

 ¨      Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the entire
        monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

 ¨      Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the filing of the
        petition.

 ¨      Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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                           Case 08-30952 Document 1 Filed in TXSB on 02/13/08 Page 3 of 48
B1 (Official Form 1) (12/07)                                                                                                                                                        Page 3
 Voluntary Petition                                                                          Name of Debtor(s):     Gwendolyn Denise Jones
 (This page must be completed and filed in every case)
                                                                                        Signatures
             Signature(s) of Debtor(s) (Individual/Joint)                                                          Signature of a Foreign Representative
 I declare under penalty of perjury that the information provided in this petition is        I declare under penalty of perjury that the information provided in this petition is true
 true and correct.                                                                           and correct, that I am the foreign representative of a debtor in a foreign proceeding,
 [If petitioner is an individual whose debts are primarily consumer debts and has            and that I am authorized to file this petition.
 chosen to file under chapter 7] I am aware that I may proceed under chapter 7,
 11, 12 or 13 of title 11, United States Code, understand the relief available under
                                                                                             (Check only one box.)
 each such chapter, and choose to proceed under chapter 7.
 [If no attorney represents me and no bankruptcy petition preparer signs the
 petition] I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                             ¨ ICertified
                                                                                                 request relief in accordance with chapter 15 of title 11, United States Code.
                                                                                                          copies of the documents required by 11 U.S.C. § 1515 are attached.

 I request relief in accordance with the chapter of title 11, United States Code,
 specified in this petition.                                                                 ¨ Pursuant   to 11 U.S.C. § 1511, I request relief in accordance with the chapter of
                                                                                               title 11 specified in this petition. A certified copy of the order granting
                                                                                                 recognition of the foreign main proceeding is attached.


 X     /s/ Gwendolyn Denise Jones
      Gwendolyn Denise Jones
                                                                                             X
                                                                                                 (Signature of Foreign Representative)
 X
                                                                                                 (Printed Name of Foreign Representative)
     Telephone Number (If not represented by attorney)
     02/13/2008
     Date                                                                                        Date
                                Signature of Attorney*                                                  Signature of Non-Attorney Bankruptcy Petition Preparer
                                                                                             I declare under penalty of perjury that: 1) I am a bankruptcy petition preparer as
 X     /s/ O. Miller White                                                                   defined in 11 U.S.C. § 110; 2) I prepared this document for compensation and
      O. Miller White                                  Bar No. 00786342                      have provided the debtor with a copy of this document and the notices and
                                                                                             information required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, 3) if rules
                                                                                             or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a
 Law Office of O. Miller White
                                                                                             maximum fee for services chargeable by bankruptcy petition preparers, I have
 4606 F M 1960 West                                                                          given the debtor notice of the maximum amount before preparing any document
 Suite 400                                                                                   for filing for a debtor or accepting any fee from the debtor, as required in that
 Houston, Tx. 77069                                                                          section. Official Form 19 is attached.


          (281) 315-8810
 Phone No.______________________        (281) 315-8863
                                 Fax No.______________________
                                                                                             Printed Name and title, if any, of Bankruptcy Petition Preparer
     02/13/2008
     Date
 *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a               Social-Security number (If the bankruptcy petition preparer is not an individual,
 certification that the attorney has no knowledge after an inquiry that the                  state the Social-Security number of the officer, principal, responsible person or
 information in the schedules is incorrect.                                                  partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)


                Signature of Debtor (Corporation/Partnership)
 I declare under penalty of perjury that the information provided in this petition is
 true and correct, and that I have been authorized to file this petition on behalf of
 the debtor.
                                                                                             Address
 The debtor requests relief in accordance with the chapter of title 11, United States
 Code, specified in this petition.
                                                                                             X
                                                                                                 Date
 X                                                                                           Signature of bankruptcy petiton preparer or officer, principal, responsible person, or
                                                                                             partner whose Social-Security number is provided above.
     Signature of Authorized Individual
                                                                                             Names and Social-Security numbers of all other individuals who prepared or
                                                                                             assisted in preparing this document unless the bankruptcy petition preparer is not
     Printed Name of Authorized Individual                                                   an individual.



     Title of Authorized Individual                                                          If more than one person prepared this document, attach additional sheets
                                                                                             conforming to the appropriate official form for each person.

                                                                                             A bankruptcy petition preparer's failure to comply with the provisions of title 11
     Date                                                                                    and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                             imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.
                    Case 08-30952 Document 1 Filed in TXSB on 02/13/08 Page 4 of 48
                                           UNITED STATES BANKRUPTCY COURT
                                              SOUTHERN DISTRICT OF TEXAS
                                                   HOUSTON DIVISION
IN RE:     Gwendolyn Denise Jones                                                        CASE NO

                                                                                        CHAPTER       7

                     DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept:                                Fixed Fee:        $1,500.00
     Prior to the filing of this statement I have received:                                        $1,500.00
     Balance Due:                                                                                         $0.00

2. The source of the compensation paid to me was:
             þ    Debtor                  ¨    Other (specify)

3. The source of compensation to be paid to me is:
             þ    Debtor                  ¨    Other (specify)

4.   þ   I have not agreed to share the above-disclosed compensation with any other person unless they are members and
         associates of my law firm.

     ¨   I have agreed to share the above-disclosed compensation with another person or persons who are not members or
         associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
         compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
   a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
   bankruptcy;
   b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
   c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:


                                                             CERTIFICATION
        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
     representation of the debtor(s) in this bankruptcy proceeding.


                      02/13/2008                              /s/ O. Miller White
                         Date                                 O. Miller White                            Bar No. 00786342
                                                              Law Office of O. Miller White
                                                              4606 F M 1960 West
                                                              Suite 400
                                                              Houston, Tx. 77069
                                                              Phone: (281) 315-8810 / Fax: (281) 315-8863




      /s/ Gwendolyn Denise Jones
     Gwendolyn Denise Jones
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B6 Summary (Official Form 6 - Summary) (12/07)
                                             UNITED STATES BANKRUPTCY COURT
                                                SOUTHERN DISTRICT OF TEXAS
                                                     HOUSTON DIVISION
   In re Gwendolyn Denise Jones                                                      Case No.

                                                                                     Chapter      7


                                                       SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from
Schedules A, B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the
debtor's assets. Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor's liabilities.
Individual debtors also must complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under
chapter 7, 11, or 13.


                                          ATTACHED NO. OF
 NAME OF SCHEDULE                                                       ASSETS                 LIABILITIES                OTHER
                                           (YES/NO) SHEETS

 A - Real Property                               Yes      1                 $101,585.00


 B - Personal Property                           Yes      6                   $73,815.00

 C - Property Claimed                            Yes      4
     as Exempt
 D - Creditors Holding                           Yes      1                                            $84,389.00
     Secured Claims
 E - Creditors Holding Unsecured
     Priority Claims                             Yes      1                                                 $0.00
     (Total of Claims on Schedule E)
 F - Creditors Holding Unsecured                 Yes      6                                           $115,425.00
     Nonpriority Claims
 G - Executory Contracts and                     Yes      1
    Unexpired Leases

 H - Codebtors                                   Yes      1


 I - Current Income of                           Yes      1                                                                   $3,425.00
     Individual Debtor(s)

 J - Current Expenditures of                     Yes      2                                                                   $3,652.00
    Individual Debtor(s)

                                             TOTAL        24                 $175,400.00              $199,814.00
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Form 6 - Statistical Summary (12/07)
                                            UNITED STATES BANKRUPTCY COURT
                                               SOUTHERN DISTRICT OF TEXAS
                                                    HOUSTON DIVISION
    In re Gwendolyn Denise Jones                                                      Case No.

                                                                                      Chapter       7

      STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 11, or 13, you must report all information requested below.


¨    Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
     information here.

This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.

 Type of Liability                                                     Amount

 Domestic Support Obligations (from Schedule E)                                     $0.00

 Taxes and Certain Other Debts Owed to Governmental Units
                                                                                    $0.00
 (from Schedule E)

 Claims for Death or Personal Injury While Debtor Was
                                                                                    $0.00
 Intoxicated (from Schedule E) (whether disputed or undisputed)

 Student Loan Obligations (from Schedule F)                                   $68,419.00

 Domestic Support, Separation Agreement, and Divorce Decree
                                                                                    $0.00
 Obligations Not Reported on Schedule E

 Obligations to Pension or Profit-Sharing, and Other Similar
                                                                                    $0.00
 Obligations (from Schedule F)

                                                               TOTAL          $68,419.00

State the following:
 Average Income (from Schedule I, Line 16)                                      $3,425.00

 Average Expenses (from Schedule J, Line 18)                                    $3,652.00

 Current Monthly Income (from Form 22A Line 12; OR, Form 22B
 Line 11; OR, Form 22C Line 20)                                                 $5,167.50

State the following:
 1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
 column                                                                                             $84,289.00

 2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
 column.                                                                            $0.00

 3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
 PRIORITY, IF ANY" column                                                                                 $0.00

 4. Total from Schedule F                                                                          $115,425.00

 5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                      $199,714.00
                   Case 08-30952 Document 1 Filed in TXSB on 02/13/08 Page 7 of 48
Official Form 1, Exhibit D (10/06)        UNITED STATES BANKRUPTCY COURT
                                             SOUTHERN DISTRICT OF TEXAS
                                                  HOUSTON DIVISION
IN RE:   Gwendolyn Denise Jones                                                          Case No.
                                                                                                              (if known)

                     Debtor(s)

               EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                CREDIT COUNSELING REQUIREMENT


Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you
cannot do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens,
you will lose whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your
case is dismissed and you file another bankruptcy case later, you may be required to pay a second filing fee and you may
have to take extra steps to stop creditors' collection activities.

Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D.
Check one of the five statements below and attach any documents as directed.


þ   1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling
and assisted me in performing a related budget analysis, and I have a certificate from the agency describing the services
provided to me. Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.

¨   2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit couseling
and assisted me in performing a related budget analysis, but I do not have a certificate from the agency describing the services
provided to me. You must file a copy of a certificate from the agency describing the services provided to you and a copy of any
debt repayment plan developed through the agency no later than 15 days after your bankruptcy case is filed.


¨    3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during
the five days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit
counseling requirement so I can file my bankruptcy case now.          [Must be accompanied by a motion for determination by the
court.] [Summarize exigent circumstances here.]




If the court is satisfied with the reasons stated in your motion, it will send you an order approving your request. You must
still obtain the credit counseling briefing within the first 30 days after you file your bankruptcy case and promptly file a
certificate from the agency that provided the briefing, together with a copy of any debt management plan developed through
the agency. Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. A
motion for extension must be filed within the 30-day period. Failure to fulfill these requirements may result in dismissal of
your case. If the court is not satisfied with your reasons for filing your bankruptcy case without first receiving a credit
counseling briefing, your case may be dismissed.
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Official Form 1, Exhibit D (10/06)       UNITED STATES BANKRUPTCY COURT
                                            SOUTHERN DISTRICT OF TEXAS
                                                 HOUSTON DIVISION
IN RE:   Gwendolyn Denise Jones                                                       Case No.
                                                                                                           (if known)

                     Debtor(s)

               EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                CREDIT COUNSELING REQUIREMENT
                                                        Continuation Sheet No. 1



¨   4. I am not required to receive a credit counseling briefing because of:    [Check the applicable statement.] [Must be
accompanied by a motion for determination by the court.]

         ¨    Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to
              be incapable of realizing and making rational decisions with respect to financial responsibilites.);


         ¨    Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable
              effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);


         ¨    Active military duty in a military combat zone.

¨   5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of
11 U.S.C. § 109(h) does not apply in this district.


I certify under penalty of perjury that the information provided above is true and correct.



Signature of Debtor:    /s/ Gwendolyn Denise Jones
                       Gwendolyn Denise Jones

Date:       02/13/2008
                    Case 08-30952 Document 1 Filed in TXSB on 02/13/08 Page 9 of 48
B6A (Official Form 6A) (12/07)



In re Gwendolyn Denise Jones                                          Case No.
                                                                                                           (if known)



                                     SCHEDULE A - REAL PROPERTY


                                                                                                        Current Value




                                                                              Husband, Wife, Joint,
                                                                                                         of Debtor's
                   Description and                   Nature of Debtor's




                                                                                or Community
                                                                                                          Interest in
                     Location of                    Interest in Property
                                                                                                      Property, Without    Amount Of
                      Property                                                                                            Secured Claim
                                                                                                       Deducting Any
                                                                                                       Secured Claim
                                                                                                        or Exemption


 1506 Taverton Dr,Channelview,Tx               Residence                         -                         $101,585.00        $83,956.00




                                                                           Total:                          $101,585.00
                                                                           (Report also on Summary of Schedules)
                     Case 08-30952 Document 1 Filed in TXSB on 02/13/08 Page 10 of 48
B6B (Official Form 6B) (12/07)




In re Gwendolyn Denise Jones                                                               Case No.
                                                                                                        (if known)



                                         SCHEDULE B - PERSONAL PROPERTY




                                                                                                             Husband, Wife, Joint,
                                                                                                                                     Current Value of
                                                                                                                                     Debtor's Interest




                                                                                                               or Community
                                                                                                                                        in Property,
                                          None                                                                                       Without Deducting
             Type of Property                                    Description and Location of Property                                  any Secured
                                                                                                                                          Claim or
                                                                                                                                         Exemption

1. Cash on hand.                          X

2. Checking, savings or other finan-             Bank of Am chk acc 586005196844                                   -                           $0.00
cial accounts, certificates of deposit
or shares in banks, savings and loan,
thrift, building and loan, and home-
stead associations, or credit unions,
brokerage houses, or cooperatives.

3. Security deposits with public util-    X
ities, telephone companies, land-
lords, and others.

4. Household goods and furnishings,              3 tv's                                                            -                         $300.00
including audio, video and computer
equipment.                                       2 ent. ctr                                                        -                         $300.00

                                                 3 dvd players                                                     -                          $75.00

                                                 2 vcr players                                                     -                          $25.00

                                                 1 cd player                                                       -                          $25.00

                                                 3 recliners                                                       -                         $125.00

                                                 coffee table                                                      -                          $50.00

                                                 3 end tables                                                      -                         $100.00

                                                 3 lamps                                                           -                         $200.00

                                                 1 computer                                                        -                         $400.00

                                                 2 dining rm tables and 8 chairs                                   -                         $200.00

                                                 3 stoves                                                          -                         $300.00

                                                 2 dishwashers                                                     -                         $300.00
                     Case 08-30952 Document 1 Filed in TXSB on 02/13/08 Page 11 of 48
B6B (Official Form 6B) (12/07) -- Cont.




In re Gwendolyn Denise Jones                                                                 Case No.
                                                                                                          (if known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                               Continuation Sheet No. 1




                                                                                                               Husband, Wife, Joint,
                                                                                                                                       Current Value of
                                                                                                                                       Debtor's Interest




                                                                                                                 or Community
                                                                                                                                          in Property,
                                           None                                                                                        Without Deducting
             Type of Property                                      Description and Location of Property                                  any Secured
                                                                                                                                            Claim or
                                                                                                                                           Exemption


                                                  3 frigs                                                            -                          $75.00

                                                  2 freezers                                                         -                          $25.00

                                                  1 dresser                                                          -                          $25.00

                                                  1 armoire                                                          -                         $100.00

                                                  1 nihgtstand                                                       -                          $20.00

                                                  4 beds                                                             -                         $200.00

                                                  linens                                                             -                          $30.00

                                                  kitchen utensils and sm appl                                       -                         $110.00

                                                  1 dryer                                                            -                          $75.00

                                                  1 hutch                                                            -                          $60.00

                                                  bakers rack                                                        -                          $60.00

                                                  1 washer                                                           -                         $100.00


5. Books; pictures and other art                  200 books                                                          -                         $300.00
objects; antiques; stamp, coin,
record, tape, compact disc, and other             9 pictures                                                         -                         $300.00
collections or collectibles.
                                                  12 statues                                                         -                         $150.00

                                                  20 figurines                                                       -                          $25.00

                                                  200 movies                                                         -                         $200.00

                                                  50 cd's                                                            -                          $50.00
                     Case 08-30952 Document 1 Filed in TXSB on 02/13/08 Page 12 of 48
B6B (Official Form 6B) (12/07) -- Cont.




In re Gwendolyn Denise Jones                                                                Case No.
                                                                                                         (if known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                             Continuation Sheet No. 2




                                                                                                              Husband, Wife, Joint,
                                                                                                                                      Current Value of
                                                                                                                                      Debtor's Interest




                                                                                                                or Community
                                                                                                                                         in Property,
                                           None                                                                                       Without Deducting
             Type of Property                                     Description and Location of Property                                  any Secured
                                                                                                                                           Claim or
                                                                                                                                          Exemption


6. Wearing apparel.                               woman's clothing                                                  -                         $800.00

                                                  childrens' clothing                                               -                         $300.00



7. Furs and jewelry.                       X

8. Firearms and sports, photo-             X
graphic, and other hobby equipment.

9. Interests in insurance policies.        X
Name insurance company of each
policy and itemize surrender or
refund value of each.

10. Annuities. Itemize and name            X
each issuer.

11. Interests in an education IRA as              AXA Equitable(206908053)                                          -                         $600.00
defined in 26 U.S.C. § 530(b)(1) or
under a qualified State tuition plan
as defined in 26 U.S.C. § 529(b)(1).
Give particulars. (File separately
the record(s) of any such interest(s).
11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh,               Teacher Retirement Sys(pension)                                   -                      $54,810.00
or other pension or profit sharing
plans. Give particulars.

13. Stock and interests in incorpo-        X
rated and unincorporated businesses.
Itemize.

14. Interests in partnerships or joint     X
ventures. Itemize.
                     Case 08-30952 Document 1 Filed in TXSB on 02/13/08 Page 13 of 48
B6B (Official Form 6B) (12/07) -- Cont.




In re Gwendolyn Denise Jones                                                     Case No.
                                                                                              (if known)



                                           SCHEDULE B - PERSONAL PROPERTY
                                                   Continuation Sheet No. 3




                                                                                                   Husband, Wife, Joint,
                                                                                                                           Current Value of
                                                                                                                           Debtor's Interest




                                                                                                     or Community
                                                                                                                              in Property,
                                            None                                                                           Without Deducting
             Type of Property                          Description and Location of Property                                  any Secured
                                                                                                                                Claim or
                                                                                                                               Exemption


15. Government and corporate bonds          X
and other negotiable and non-
negotiable instruments.

16. Accounts receivable.                    X

17. Alimony, maintenance, support,          X
and property settlements to which the
debtor is or may be entitled. Give
particulars.

18. Other liquidated debts owed to          X
debtor including tax refunds. Give
particulars.

19. Equitable or future interests, life     X
estates, and rights or powers exercis-
able for the benefit of the debtor other
than those listed in Schedule A - Real
Property.

20. Contingent and noncontingent            X
interests in estate of a decedent, death
benefit plan, life insurance policy, or
trust.

21. Other contingent and unliqui-           X
dated claims of every nature,
including tax refunds, counterclaims
of the debtor, and rights to setoff
claims. Give estimated value of each.

22. Patents, copyrights, and other          X
intellectual property. Give
particulars.
                     Case 08-30952 Document 1 Filed in TXSB on 02/13/08 Page 14 of 48
B6B (Official Form 6B) (12/07) -- Cont.




In re Gwendolyn Denise Jones                                                             Case No.
                                                                                                      (if known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                           Continuation Sheet No. 4




                                                                                                           Husband, Wife, Joint,
                                                                                                                                   Current Value of
                                                                                                                                   Debtor's Interest




                                                                                                             or Community
                                                                                                                                      in Property,
                                           None                                                                                    Without Deducting
             Type of Property                                  Description and Location of Property                                  any Secured
                                                                                                                                        Claim or
                                                                                                                                       Exemption


23. Licenses, franchises, and other        X
general intangibles. Give particulars.

24. Customer lists or other compilations   X
containing personally identifiable
information (as defined in 11 U.S.C.
§ 101(41A)) provided to the debtor by
individuals in connection with obtaining
a product or service from the debtor
primarily for personal, family, or
household purposes.

25. Automobiles, trucks, trailers,                2005 Chrysler 300                                              -                      $13,000.00
and other vehicles and accessories.

26. Boats, motors, and accessories.        X

27. Aircraft and accessories.              X

28. Office equipment, furnishings,         X
and supplies.

29. Machinery, fixtures, equipment,        X
and supplies used in business.

30. Inventory.                             X

31. Animals.                               X

32. Crops - growing or harvested.          X
Give particulars.

33. Farming equipment and                  X
implements.

34. Farm supplies, chemicals, and          X
feed.
                     Case 08-30952 Document 1 Filed in TXSB on 02/13/08 Page 15 of 48
B6B (Official Form 6B) (12/07) -- Cont.




In re Gwendolyn Denise Jones                                                                   Case No.
                                                                                                                      (if known)



                                           SCHEDULE B - PERSONAL PROPERTY
                                                             Continuation Sheet No. 5




                                                                                                                           Husband, Wife, Joint,
                                                                                                                                                   Current Value of
                                                                                                                                                   Debtor's Interest




                                                                                                                             or Community
                                                                                                                                                      in Property,
                                              None                                                                                                 Without Deducting
             Type of Property                                     Description and Location of Property                                               any Secured
                                                                                                                                                        Claim or
                                                                                                                                                       Exemption


35. Other personal property of any            X
kind not already listed. Itemize.




                                                                          5            continuation sheets attached   Total >                           $73,815.00
              (Include amounts from any continuation sheets attached. Report total also on Summary of Schedules.)
                     Case 08-30952 Document 1 Filed in TXSB on 02/13/08 Page 16 of 48
B6C (Official Form 6C) (12/07)




In re Gwendolyn Denise Jones                                                                Case No.
                                                                                                                 (If known)



                                     SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

 Debtor claims the exemptions to which debtor is entitled under:            ¨    Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                 $136,875.

 ¨    11 U.S.C. § 522(b)(2)
 þ    11 U.S.C. § 522(b)(3)




                                                                                                                                   Current
                                                                                                                              Value of Property
                                                               Specify Law Providing Each            Value of Claimed
                Description of Property                                                                                       Without Deducting
                                                                       Exemption                        Exemption
                                                                                                                                  Exemption



 1506 Taverton Dr,Channelview,Tx                         Const. art. 16 §§ 50, 51, Texas Prop.               $17,629.00             $101,585.00
                                                         Code §§ 41.001-.002

 3 tv's                                                  Tex. Prop. Code §§ 42.001(a), 42.002                   $300.00                 $300.00
                                                         (a)(1)

 2 ent. ctr                                              Tex. Prop. Code §§ 42.001(a), 42.002                   $300.00                 $300.00
                                                         (a)(1)

 3 dvd players                                           Tex. Prop. Code §§ 42.001(a), 42.002                    $75.00                  $75.00
                                                         (a)(1)

 2 vcr players                                           Tex. Prop. Code §§ 42.001(a), 42.002                    $25.00                  $25.00
                                                         (a)(1)

 1 cd player                                             Tex. Prop. Code §§ 42.001(a), 42.002                    $25.00                  $25.00
                                                         (a)(1)

 3 recliners                                             Tex. Prop. Code §§ 42.001(a), 42.002                   $125.00                 $125.00
                                                         (a)(1)

 coffee table                                            Tex. Prop. Code §§ 42.001(a), 42.002                    $50.00                  $50.00
                                                         (a)(1)

 3 end tables                                            Tex. Prop. Code §§ 42.001(a), 42.002                   $100.00                 $100.00
                                                         (a)(1)

 3 lamps                                                 Tex. Prop. Code §§ 42.001(a), 42.002                   $200.00                 $200.00
                                                         (a)(1)



                                                                                                             $18,829.00             $102,785.00
                     Case 08-30952 Document 1 Filed in TXSB on 02/13/08 Page 17 of 48
B6C (Official Form 6C) (12/07) -- Cont.




In re Gwendolyn Denise Jones                                                    Case No.
                                                                                                 (If known)



                                      SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                   Continuation Sheet No. 1



                                                                                                                   Current
                                                                                                              Value of Property
                                                    Specify Law Providing Each         Value of Claimed       Without Deducting
                Description of Property
                                                            Exemption                     Exemption               Exemption



 1 computer                                     Tex. Prop. Code §§ 42.001(a), 42.002            $400.00                $400.00
                                                (a)(1)

 2 dining rm tables and 8 chairs                Tex. Prop. Code §§ 42.001(a), 42.002            $200.00                $200.00
                                                (a)(1)

 3 stoves                                       Tex. Prop. Code §§ 42.001(a), 42.002            $300.00                $300.00
                                                (a)(1)

 2 dishwashers                                  Tex. Prop. Code §§ 42.001(a), 42.002            $300.00                $300.00
                                                (a)(1)

 3 frigs                                        Tex. Prop. Code §§ 42.001(a), 42.002             $75.00                  $75.00
                                                (a)(1)

 2 freezers                                     Tex. Prop. Code §§ 42.001(a), 42.002             $25.00                  $25.00
                                                (a)(1)

 1 dresser                                      Tex. Prop. Code §§ 42.001(a), 42.002             $25.00                  $25.00
                                                (a)(1)

 1 armoire                                      Tex. Prop. Code §§ 42.001(a), 42.002            $100.00                $100.00
                                                (a)(1)

 1 nihgtstand                                   Tex. Prop. Code §§ 42.001(a), 42.002             $20.00                  $20.00
                                                (a)(1)

 4 beds                                         Tex. Prop. Code §§ 42.001(a), 42.002            $200.00                $200.00
                                                (a)(1)

 linens                                         Tex. Prop. Code §§ 42.001(a), 42.002             $30.00                  $30.00
                                                (a)(1)

 kitchen utensils and sm appl                   Tex. Prop. Code §§ 42.001(a), 42.002            $110.00                $110.00
                                                (a)(1)

 1 dryer                                        Tex. Prop. Code §§ 42.001(a), 42.002             $75.00                  $75.00
                                                (a)(1)

                                                                                             $20,689.00             $104,645.00
                       Case 08-30952 Document 1 Filed in TXSB on 02/13/08 Page 18 of 48
B6C (Official Form 6C) (12/07) -- Cont.




In re Gwendolyn Denise Jones                                                    Case No.
                                                                                                 (If known)



                                      SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                   Continuation Sheet No. 2



                                                                                                                   Current
                                                                                                              Value of Property
                                                    Specify Law Providing Each         Value of Claimed       Without Deducting
                Description of Property
                                                            Exemption                     Exemption               Exemption



 1 hutch                                        Tex. Prop. Code §§ 42.001(a), 42.002             $60.00                  $60.00
                                                (a)(1)

 bakers rack                                    Tex. Prop. Code §§ 42.001(a), 42.002             $60.00                  $60.00
                                                (a)(1)

 1 washer                                       Tex. Prop. Code §§ 42.001(a), 42.002            $100.00                $100.00
                                                (a)(1)

 200 books                                      Tex. Prop. Code §§ 42.001(a), 42.002            $300.00                $300.00
                                                (a)(1)

 9 pictures                                     Tex. Prop. Code §§ 42.001(a), 42.002            $300.00                $300.00
                                                (a)(1)

 12 statues                                     Tex. Prop. Code §§ 42.001(a), 42.002            $150.00                $150.00
                                                (a)(1)

 20 figurines                                   Tex. Prop. Code §§ 42.001(a), 42.002             $25.00                  $25.00
                                                (a)(1)

 200 movies                                     Tex. Prop. Code §§ 42.001(a), 42.002            $200.00                $200.00
                                                (a)(1)

 50 cd's                                        Tex. Prop. Code §§ 42.001(a), 42.002             $50.00                  $50.00
                                                (a)(1)

 woman's clothing                               Tex. Prop. Code §§ 42.001(a), 42.002            $800.00                $800.00
                                                (a)(5)

 childrens' clothing                            Tex. Prop. Code §§ 42.001(a), 42.002            $300.00                $300.00
                                                (a)(5)

 AXA Equitable(206908053)                       Tex. Gov't. Code § 821.005                      $600.00                $600.00

 Teacher Retirement Sys(pension)                Tex. Gov't. Code § 821.005                   $54,810.00              $54,810.00




                                                                                             $78,444.00             $162,400.00
                     Case 08-30952 Document 1 Filed in TXSB on 02/13/08 Page 19 of 48
B6C (Official Form 6C) (12/07) -- Cont.




In re Gwendolyn Denise Jones                                                    Case No.
                                                                                                 (If known)



                                      SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                   Continuation Sheet No. 3



                                                                                                                   Current
                                                                                                              Value of Property
                                                    Specify Law Providing Each         Value of Claimed       Without Deducting
              Description of Property
                                                            Exemption                     Exemption               Exemption



 2005 Chrysler 300                              Tex. Prop. Code §§ 42.001(a), 42.002         $13,000.00              $13,000.00
                                                (a)(9)




                                                                                             $91,444.00             $175,400.00
                   Case 08-30952 Document 1 Filed in TXSB on 02/13/08 Page 20 of 48
B6D (Official Form 6D) (12/07)
          In re Gwendolyn Denise Jones                                                                               Case No.
                                                                                                                                                  (if known)



                               SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                         ¨    Check this box if debtor has no creditors holding secured claims to report on this Schedule D.




                                                          HUSBAND, WIFE, JOINT,
        CREDITOR'S NAME AND                                                                    DATE CLAIM WAS                                AMOUNT OF         UNSECURED




                                                                                                                              UNLIQUIDATED
           MAILING ADDRESS                                                                   INCURRED, NATURE                                  CLAIM           PORTION, IF




                                                                                                                               CONTINGENT
                                                            OR COMMUNITY
                                               CODEBTOR




                                                                                                                                DISPUTED
       INCLUDING ZIP CODE AND                                                                   OF LIEN, AND                                  WITHOUT             ANY
         AN ACCOUNT NUMBER                                                                    DESCRIPTION AND                                DEDUCTING
         (See Instructions Above.)                                                                VALUE OF                                    VALUE OF
                                                                                             PROPERTY SUBJECT                                COLLATERAL
                                                                                                   TO LIEN
                                                                                  DATE INCURRED:
ACCT #: x4741                                                                     NATURE OF LIEN:
                                                                                  Computer
Aaron's                                                                           COLLATERAL:
                                                                                  Computer                                                         $432.00             $332.00
13530 I 10 East                                                 -                 REMARKS:
Houston,Tx 77015



                                                                                  VALUE:                            $100.00
                                                                                  DATE INCURRED:
ACCT #: xxxxxx9723                                                                NATURE OF LIEN:
                                                                                  Home Mtg
Wells Fargo Home Mtg                                                              COLLATERAL:
                                                                                  1506 Taverton Dr,Channelview,Tx                               $83,957.00         $83,957.00
POB 10335                                                       -                 REMARKS:
Des Moines,IA 50306



                                                                                  VALUE:                              $0.00




                                                                                                     Subtotal (Total of this Page) >              $84,389.00         $84,289.00
                                                                                                    Total (Use only on last page) >               $84,389.00         $84,289.00
________________continuation
       No                    sheets attached                                                                                                 (Report also on   (If applicable,
                                                                                                                                             Summary of        report also on
                                                                                                                                             Schedules.)       Statistical
                                                                                                                                                               Summary of
                                                                                                                                                               Certain Liabilities
                                                                                                                                                               and Related
                                                                                                                                                               Data.)
                     Case 08-30952 Document 1 Filed in TXSB on 02/13/08 Page 21 of 48
B6E (Official Form 6E) (12/07)

In re Gwendolyn Denise Jones                                                                      Case No.
                                                                                                                            (If Known)



                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

þ Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS                       (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

¨   Domestic Support Obligations
    Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
    or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent
    provided in 11 U.S.C. § 507(a)(1).


¨   Extensions of credit in an involuntary case
    Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
    the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

¨   Wages, salaries, and commissions
    Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to
    qualifying independent sales representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original
    petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).


¨   Contributions to employee benefit plans
    Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
    cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).


¨   Certain farmers and fishermen
    Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


¨   Deposits by individuals
    Claims of individuals up to $2,425* for deposits for the purchase, lease or rental of property or services for personal, family, or household use,
    that were not delivered or provided. 11 U.S.C. § 507(a)(7).


¨   Taxes and Certain Other Debts Owed to Governmental Units
    Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).


¨   Commitments to Maintain the Capital of an Insured Depository Institution
    Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
    of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
    § 507(a)(9).


¨   Claims for Death or Personal Injury While Debtor Was Intoxicated
    Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
    alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).


¨   Administrative allowances under 11 U.S.C. Sec. 330
    Claims based on services rendered by the trustee, examiner, professional person, or attorney and by any paraprofessional person employed
    by such person as approved by the court and/or in accordance with 11 U.S.C. §§ 326, 328, 329 and 330.


* Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.

________________continuation
       No                    sheets attached
                    Case 08-30952 Document 1 Filed in TXSB on 02/13/08 Page 22 of 48
B6F (Official Form 6F) (12/07)
  In re Gwendolyn Denise Jones                                                                                  Case No.
                                                                                                                           (if known)



                    SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
¨   Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                               HUSBAND, WIFE, JOINT,
               CREDITOR'S NAME,                                                                       DATE CLAIM WAS                            AMOUNT OF




                                                                                                                                 UNLIQUIDATED
                                                                                                                                  CONTINGENT
                MAILING ADDRESS                                                                        INCURRED AND                               CLAIM




                                                                 OR COMMUNITY
                                                    CODEBTOR




                                                                                                                                   DISPUTED
              INCLUDING ZIP CODE,                                                                  CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                             CLAIM.
             (See instructions above.)                                                            IF CLAIM IS SUBJECT TO
                                                                                                     SETOFF, SO STATE.


ACCT #: xxx-xx-9936                                                                    DATE INCURRED:
                                                                                       CONSIDERATION:
Advance America                                                                        Payday Loan                                                   $772.00
14657 Woodforest Blvd                                                                  REMARKS:
                                                                   -
Houston,Tx 77015



ACCT #: xxxx-xxxx-xxxx-2893                                                            DATE INCURRED:
                                                                                       CONSIDERATION:
Capital One                                                                            Credit Card                                                  $1,174.00
POB 85015                                                                              REMARKS:
                                                                   -
Richmond,Va 23285



ACCT #: xxxx5903                                                                       DATE INCURRED:
                                                                                       CONSIDERATION:
Cashnet USA                                                                            Payday Loan                                                   $780.00
POB 06230                                                                              REMARKS:
                                                                   -
chicago,IL 60606



ACCT #: xxxxxxx4683                                                                    DATE INCURRED:
                                                                                       CONSIDERATION:
Citibank/Shell                                                                         Credit Card                                                  $2,038.00
c/o Cresent Coll Agcy                                                                  REMARKS:
                                                                   -
510 Independence Pkwy,Ste 300
Chesapeake,Va 23320

ACCT #: xxxx5735                                                                       DATE INCURRED:   2003
                                                                                       CONSIDERATION:
Conn's                                                                                 Credit Card                                                   $348.00
POB 2358                                                                               REMARKS:
                                                                   -
Beaumont,Tx. 77704



ACCT #: x xxxx36N1                                                                     DATE INCURRED:
                                                                                       CONSIDERATION:
Dillard's                                                                              Credit Card                                                  $1,028.00
c/o Credit Vision                                                                      REMARKS:
                                                                   -
POB 1245
Colleyville,Tx 76034

                                                                                                                              Subtotal >             $6,140.00

                                                                                                                         Total >
                                                                           (Use only on last page of the completed Schedule F.)
________________continuation
       5                     sheets attached                   (Report also on Summary of Schedules and, if applicable, on the
                                                                   Statistical Summary of Certain Liabilities and Related Data.)
                    Case 08-30952 Document 1 Filed in TXSB on 02/13/08 Page 23 of 48
B6F (Official Form 6F) (12/07) - Cont.
  In re Gwendolyn Denise Jones                                                                                     Case No.
                                                                                                                              (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
               CREDITOR'S NAME,                                                                          DATE CLAIM WAS                            AMOUNT OF




                                                                                                                                    UNLIQUIDATED
                                                                                                                                     CONTINGENT
                MAILING ADDRESS                                                                           INCURRED AND                               CLAIM




                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                      DISPUTED
              INCLUDING ZIP CODE,                                                                     CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: xxx-xx-9936                                                                       DATE INCURRED:
                                                                                          CONSIDERATION:
Direct Loans                                                                              Student Loan                                                $54,141.00
POB 5609                                                                                  REMARKS:
                                                                      -
Greenville,Tx 75403



ACCT #: xxxx-xxxx-xxxx-6080                                                               DATE INCURRED:
                                                                                          CONSIDERATION:
Direct Merchants Bank                                                                     Credit Card                                                  $1,200.00
POB 22124                                                                                 REMARKS:
                                                                      -
Tulsa,OK 74121



ACCT #: xxx5132                                                                           DATE INCURRED:   2003
                                                                                          CONSIDERATION:
East Houston Medical                                                                      Medical Bill                                                  $162.00
c/o West Asset Mgt                                                                        REMARKS:
                                                                      -
200 A North Sunset
Sherman,Tx 75092

ACCT #: xxx1553                                                                           DATE INCURRED:   2005
                                                                                          CONSIDERATION:
East Houston Medical                                                                      Medical Bill                                                    $75.00
c/o West Asset Mgt                                                                        REMARKS:
                                                                      -
200 A North Sunset
Sherman,Tx 75092

ACCT #: xxx0337                                                                           DATE INCURRED:   2002
                                                                                          CONSIDERATION:
East Houston Medical                                                                      Medical Bill                                                  $400.00
c/o West Asset Mgt                                                                        REMARKS:
                                                                      -
200 A North Sunset
Sherman,Tx 75092

ACCT #: xxx4714                                                                           DATE INCURRED:
                                                                                          CONSIDERATION:
EZ Corp                                                                                   Payday Loan                                                  $1,596.00
c/o Natl Credit Adjusters                                                                 REMARKS:
                                                                      -
POB 3023
Hutchinson,Ks 67504

Sheet no. __________
              1        of __________
                               5     continuation sheets attached to                                                             Subtotal >            $57,574.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
                    Case 08-30952 Document 1 Filed in TXSB on 02/13/08 Page 24 of 48
B6F (Official Form 6F) (12/07) - Cont.
  In re Gwendolyn Denise Jones                                                                                         Case No.
                                                                                                                                  (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
               CREDITOR'S NAME,                                                                          DATE CLAIM WAS                                AMOUNT OF




                                                                                                                                        UNLIQUIDATED
                                                                                                                                         CONTINGENT
                MAILING ADDRESS                                                                           INCURRED AND                                   CLAIM




                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                          DISPUTED
              INCLUDING ZIP CODE,                                                                     CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Farmers Ins                                                                               Auto Ins                                                          $138.00
c/o Credit Coll Serv                                                                      REMARKS:
                                                                      -
Two Wells Ave,Dept 9134
Newton,Mass 02459

ACCT #: xxxxxx4s19                                                                        DATE INCURRED:
                                                                                          CONSIDERATION:
Investex C U                                                                              Bank Overdraft                                                    $550.00
905 Aldine-Bender Rd                                                                      REMARKS:
                                                                      -
Houston,Tx 77032



ACCT #: xxxxx4136                                                                         DATE INCURRED:
                                                                                          CONSIDERATION:
Kingwood Med Ctr                                                                          Medical Bill                                                      $100.00
POB406325                                                                                 REMARKS:
                                                                      -
Atlanta,Ga 30384



ACCT #: xxxxxxxxxxx3946                                                                   DATE INCURRED:   2001
                                                                                          CONSIDERATION:
LVNV Funding                                                                              Credit Card                                                      $2,475.00
c/o Allied Interstate                                                                     REMARKS:
                                                                      -
POB 361774
Columbus,OH 43236

ACCT #: xxxx2135                                                                          DATE INCURRED:
                                                                                          CONSIDERATION:
Mazda American Credit                                                                     Deficiency on Vehicle Repo                                      $11,286.00
c/o Calvary Portfolio Serv                                                                REMARKS:
                                                                      -
POB 1017
Hawthorne,NY 10532

ACCT #: xxxx6554                                                                          DATE INCURRED:
                                                                                          CONSIDERATION:
Memorial N W                                                                              Medical Bill                                                      $355.00
c/o NCO Financial                                                                         REMARKS:
                                                                      -
POB 13564
Philadelphia,Pa 10101

Sheet no. __________
              2        of __________
                               5     continuation sheets attached to                                                                 Subtotal >            $14,904.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
                    Case 08-30952 Document 1 Filed in TXSB on 02/13/08 Page 25 of 48
B6F (Official Form 6F) (12/07) - Cont.
  In re Gwendolyn Denise Jones                                                                                     Case No.
                                                                                                                              (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
               CREDITOR'S NAME,                                                                          DATE CLAIM WAS                            AMOUNT OF




                                                                                                                                    UNLIQUIDATED
                                                                                                                                     CONTINGENT
                MAILING ADDRESS                                                                           INCURRED AND                               CLAIM




                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                      DISPUTED
              INCLUDING ZIP CODE,                                                                     CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: xxxx-xxxx-xxxx-6080                                                               DATE INCURRED:
                                                                                          CONSIDERATION:
Metris/Ace                                                                                Payday Loan                                                  $1,204.00
c/o Paragon Way                                                                           REMARKS:
                                                                      -
POB 42829
Austin,Tx 78704

ACCT #: xxxx-xx99-36                                                                      DATE INCURRED:
                                                                                          CONSIDERATION:
Nelnet                                                                                    Student Loan                                                $14,278.00
3015 S.Parker Rd                                                                          REMARKS:
                                                                      -
Aurora,Co 80014



ACCT #: xxxx5551                                                                          DATE INCURRED:
                                                                                          CONSIDERATION:
No Wait Cash Advance                                                                      Payday Loan                                                   $690.00
c/o Acquisition Reserve Sys                                                               REMARKS:
                                                                      -
6430 S. Rocj,pmd Ave.Ste 300
Houston.Tx 77057

ACCT #: xxx-xx-9936                                                                       DATE INCURRED:
                                                                                          CONSIDERATION:
Payday Advance                                                                            Payday Loan                                                   $600.00
14657 Woodforest Blvd                                                                     REMARKS:
                                                                      -
Houston,Tx 77015



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Prairie View Univ                                                                         Tuition                                                       $660.00
P O Mail Stop 1329                                                                        REMARKS:
                                                                      -
Prairie View,Tx 77446



ACCT #: xxxxxx1163                                                                        DATE INCURRED:   2007
                                                                                          CONSIDERATION:
Purpose Financial                                                                         Payday Loan                                                  $1,244.00
5815 E. San Houston Pkwy N.                                                               REMARKS:
                                                                      -
Ste B



Sheet no. __________
              3        of __________
                               5     continuation sheets attached to                                                             Subtotal >            $18,676.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
                    Case 08-30952 Document 1 Filed in TXSB on 02/13/08 Page 26 of 48
B6F (Official Form 6F) (12/07) - Cont.
  In re Gwendolyn Denise Jones                                                                                     Case No.
                                                                                                                              (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
               CREDITOR'S NAME,                                                                          DATE CLAIM WAS                            AMOUNT OF




                                                                                                                                    UNLIQUIDATED
                                                                                                                                     CONTINGENT
                MAILING ADDRESS                                                                           INCURRED AND                               CLAIM




                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                      DISPUTED
              INCLUDING ZIP CODE,                                                                     CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: x-xxx-xxx-x34-90                                                                  DATE INCURRED:   2001
                                                                                          CONSIDERATION:
Retailers Natl Bank(Target)                                                               Credit Card                                                   $500.00
POB 1581                                                                                  REMARKS:
                                                                      -
Minneapolis,Mn 55440



ACCT #: xxxxx xx-xxxxx-xx665-2                                                            DATE INCURRED:   2000
                                                                                          CONSIDERATION:
Sears                                                                                     Credit Card                                                   $606.00
c/o Northland Group                                                                       REMARKS:
                                                                      -
8725 Sahara Ave
The Lakes,NV 89163

ACCT #: xxxx0126                                                                          DATE INCURRED:
                                                                                          CONSIDERATION:
Target                                                                                    Credit Card                                                   $316.00
c/o Asset Acceptance                                                                      REMARKS:
                                                                      -
POB 23036
Warren,Mich 48090

ACCT #: xxxxxxx8712                                                                       DATE INCURRED:   2001
                                                                                          CONSIDERATION:
Tyco/ADT                                                                                  Security Services                                             $170.00
14200 E.Exposition Ave                                                                    REMARKS:
                                                                      -
Aurora,co 80012



ACCT #: xxxx1625                                                                          DATE INCURRED:   2002
                                                                                          CONSIDERATION:
Verizon Wireless                                                                          Telephone Services                                           $1,224.00
c/o Progressive Mgt Sys                                                                   REMARKS:
                                                                      -
POB 2220
West Covina,Ca. 91793

ACCT #: xxxx5091                                                                          DATE INCURRED:
                                                                                          CONSIDERATION:
Verizon Wireless                                                                          Telephone Services                                            $583.00
c/o Credit Bureau Collections                                                             REMARKS:
                                                                      -
POB 163250
Columbus,Oh 43216

Sheet no. __________
              4        of __________
                               5     continuation sheets attached to                                                             Subtotal >             $3,399.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
                    Case 08-30952 Document 1 Filed in TXSB on 02/13/08 Page 27 of 48
B6F (Official Form 6F) (12/07) - Cont.
  In re Gwendolyn Denise Jones                                                                                         Case No.
                                                                                                                                  (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
               CREDITOR'S NAME,                                                                          DATE CLAIM WAS                                AMOUNT OF




                                                                                                                                        UNLIQUIDATED
                                                                                                                                         CONTINGENT
                MAILING ADDRESS                                                                           INCURRED AND                                   CLAIM




                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                          DISPUTED
              INCLUDING ZIP CODE,                                                                     CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: xxxxxxxxxxxxx9001                                                                 DATE INCURRED:   2006
                                                                                          CONSIDERATION:
Wells Fargo Bank                                                                          Deficiency on Vehicle Repo                                      $14,631.00
1250 Montego                                                                              REMARKS:
                                                                      -
Walnut Creek,Ca 94598



ACCT #: xxxxx8264                                                                         DATE INCURRED:   2001
                                                                                          CONSIDERATION:
WFN-The Avenue                                                                            Credit Card                                                       $101.00
POB 29185                                                                                 REMARKS:
                                                                      -
Shawnee Mission,Ks 66201




Sheet no. __________
              5        of __________
                               5     continuation sheets attached to                                                                 Subtotal >            $14,732.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >                       $115,425.00
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
                     Case 08-30952 Document 1 Filed in TXSB on 02/13/08 Page 28 of 48
B6G (Official Form 6G) (12/07)
   In re Gwendolyn Denise Jones                                                         Case No.
                                                                                                        (if known)



                     SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
State nature of debtor's interest in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease.
Provide the names and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to
one of the leases of contracts, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a
minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).


þ Check this box if debtor has no executory contracts or unexpired leases.
                                                                         DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR'S
                                                                         INTEREST. STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL
            NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                PROPERTY. STATE CONTRACT NUMBER OF ANY GOVERNMENT
              OF OTHER PARTIES TO LEASE OR CONTRACT.                     CONTRACT.
                      Case 08-30952 Document 1 Filed in TXSB on 02/13/08 Page 29 of 48
B6H (Official Form 6H) (12/07)
In re Gwendolyn Denise Jones                                                                       Case No.
                                                                                                                           (if known)



                                                        SCHEDULE H - CODEBTORS
Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the debtor
in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or
territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight-
year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of any former spouse who resides or
resided with the debtor in the community property state, commonwealth, or territory. Include all names used by the nondebtor spouse during the eight
years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112
and Fed. R. Bankr. P. 1007(m).

þ Check this box if debtor has no codebtors.
                     NAME AND ADDRESS OF CODEBTOR                                                     NAME AND ADDRESS OF CREDITOR
                      Case 08-30952 Document 1 Filed in TXSB on 02/13/08 Page 30 of 48
B6I (Official Form 6I) (12/07)
In re Gwendolyn Denise Jones                                                                     Case No.
                                                                                                                     (if known)



                            SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is filed,
unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income calculated on
this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
 Debtor's Marital Status:                                             Dependents of Debtor and Spouse
                                 Relationship(s): daughter        Age(s): 5           Relationship(s):                            Age(s):
           Divorced




 Employment:                      Debtor                                                     Spouse
 Occupation                      School Counseler
 Name of Employer                Aldine I S D
 How Long Employed               12.5 yrs
 Address of Employer             14910 Aldine Westfield
                                 Houston,Tx 77032

INCOME: (Estimate of average or projected monthly income at time case filed)                                      DEBTOR                    SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                                    $4,956.00
2. Estimate monthly overtime                                                                                         $0.00
3. SUBTOTAL                                                                                                      $4,956.00
4. LESS PAYROLL DEDUCTIONS
   a. Payroll taxes (includes social security tax if b. is zero)                                                  $460.00
   b. Social Security Tax                                                                                            $0.00
   c. Medicare                                                                                                      $64.00
   d. Insurance                                                                                                   $661.00
   e. Union dues                                                                                                     $0.00
   f. Retirement         Mandatory                                                                                $346.00
   g. Other (Specify)                                                                                                $0.00
   h. Other (Specify)                                                                                                $0.00
   i. Other (Specify)                                                                                                $0.00
   j. Other (Specify)                                                                                                $0.00
   k. Other (Specify)                                                                                                $0.00
5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                                $1,531.00
6.    TOTAL NET MONTHLY TAKE HOME PAY                                                                            $3,425.00
7.  Regular income from operation of business or profession or farm (Attach detailed stmt)                            $0.00
8.  Income from real property                                                                                         $0.00
9.  Interest and dividends                                                                                            $0.00
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or                            $0.00
    that of dependents listed above
11. Social security or government assistance (Specify):
                                                                                                                      $0.00
12. Pension or retirement income                                                                                      $0.00
13. Other monthly income (Specify):
      a.                                                                                                              $0.00
      b.                                                                                                              $0.00
      c.                                                                                                              $0.00
14. SUBTOTAL OF LINES 7 THROUGH 13                                                                                    $0.00
15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                                 $3,425.00
16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                                                $3,425.00
                                                                        (Report also on Summary of Schedules and, if applicable,
                                                                        on Statistical Summary of Certain Liabilities and Related Data)
17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
None.
                     Case 08-30952 Document 1 Filed in TXSB on 02/13/08 Page 31 of 48
B6J (Official Form 6J) (12/07)
  IN RE: Gwendolyn Denise Jones                                                                 Case No.
                                                                                                                   (if known)



                    SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time case filed. Prorate any
payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses calculated on this form may
differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of expenditures
¨
    labeled "Spouse."


 1. Rent or home mortgage payment (include lot rented for mobile home)                                                                       $903.00
    a. Are real estate taxes included?        þ Yes       ¨ No
    b. Is property insurance included?        þ Yes       ¨ No
 2. Utilities: a. Electricity and heating fuel                                                                                               $240.00
               b. Water and sewer                                                                                                             $26.00
               c. Telephone                                                                                                                  $179.00
               d. Other:
 3. Home maintenance (repairs and upkeep)                                                                                                    $150.00
 4. Food                                                                                                                                     $500.00
 5. Clothing                                                                                                                                  $60.00
 6. Laundry and dry cleaning                                                                                                                  $30.00
 7. Medical and dental expenses                                                                                                               $60.00
 8. Transportation (not including car payments)                                                                                              $435.00
 9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                          $80.00
 10. Charitable contributions
 11. Insurance (not deducted from wages or included in home mortgage payments)
           a. Homeowner's or renter's
           b. Life                                                                                                                             $38.00
           c. Health
           d. Auto                                                                                                                             $90.00
           e. Other:
 12. Taxes (not deducted from wages or included in home mortgage payments)
 Specify:
 13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
             a. Auto:
             b. Other: Student Loan                                                                                                          $424.00
             c. Other: Computer                                                                                                              $119.00
             d. Other:
 14. Alimony, maintenance, and support paid to others:
 15. Payments for support of add'l dependents not living at your home:
 16. Regular expenses from operation of business, profession, or farm (attach detailed statement)
 17.a. Other: See attached personal expenses                                                                                                 $318.00
 17.b. Other:
 18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,
                                                                                                                                 $3,652.00
    if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
 19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this
 document: None.


 20. STATEMENT OF MONTHLY NET INCOME
 a. Average monthly income from Line 15 of Schedule I                                                                                      $3,425.00
 b. Average monthly expenses from Line 18 above                                                                                            $3,652.00
 c. Monthly net income (a. minus b.)                                                                                                       ($227.00)
                     Case 08-30952 Document 1 Filed in TXSB on 02/13/08 Page 32 of 48
                                   UNITED STATES BANKRUPTCY COURT
                                      SOUTHERN DISTRICT OF TEXAS
                                           HOUSTON DIVISION
IN RE:    Gwendolyn Denise Jones                                CASE NO

                                                               CHAPTER    7

                                       EXHIBIT TO SCHEDULE J




                                        Itemized Personal Expenses

Expense                                                                                 Amount

Hair Cuts/Perms                                                                           $50.00
Cigarettes                                                                               $100.00
Postage                                                                                    $7.00
Homeowners' maint fee                                                                     $21.00
children's daycare                                                                       $140.00


                                                                              Total >   $318.00
                   Case 08-30952 Document 1 Filed in TXSB on 02/13/08 Page 33 of 48
B6 Declaration (Official Form 6 - Declaration) (12/07)
In re Gwendolyn Denise Jones                                                           Case No.
                                                                                                             (if known)



                               DECLARATION CONCERNING DEBTOR'S SCHEDULES
                           DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR
    I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                 26
sheets, and that they are true and correct to the best of my knowledge, information, and belief.



Date 02/13/2008                                              Signature    /s/ Gwendolyn Denise Jones
                                                                         Gwendolyn Denise Jones

Date                                                         Signature

                                                             [If joint case, both spouses must sign.]




Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or
both. 18 U.S.C. §§ 152 and 3571.
                      Case 08-30952 Document 1 Filed in TXSB on 02/13/08 Page 34 of 48
B7 (Official Form 7) (12/07)                    UNITED STATES BANKRUPTCY COURT
                                                    SOUTHERN DISTRICT OF TEXAS
                                                         HOUSTON DIVISION
   In re:   Gwendolyn Denise Jones                                                                   Case No.
                                                                                                                             (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS

       1. Income from employment or operation of business
None
       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business,
 ¨     including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this
       case was commenced. State also the gross amounts received during the two years immediately preceding this calendar year. (A debtor that
       maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the
       beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
       under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)
        AMOUNT                      SOURCE
        $65,009.00                  Salary 2007

        $61,224.00                  Salary 2006

       2. Income other than from employment or operation of business
None
       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business during the
 þ     two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse
       separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed,
       unless the spouses are separated and a joint petition is not filed.)


       3. Payments to creditors
       Complete a. or b., as appropriate, and c.
None
       a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other
 ¨     debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value of all property that
       constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account
       of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit
       counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                         DATES OF
        NAME AND ADDRESS OF CREDITOR                                     PAYMENTS                AMOUNT PAID             AMOUNT STILL OWING
        Wells Fargo(Res Mtg)                                             12/05/07                                        $83,742.00
                                                                         $1825
                                                                         01/04/08 $041

None
       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately
 þ     preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such transfer is less than
       $5,475. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
       obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency.
       (Married debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)


None
       c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors
 þ     who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       4. Suits and administrative proceedings, executions, garnishments and attachments
None
       a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this
 þ     bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


None
       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding
 þ     the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or
       both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                      Case 08-30952 Document 1 Filed in TXSB on 02/13/08 Page 35 of 48
B7 (Official Form 7) (12/07) - Cont.           UNITED STATES BANKRUPTCY COURT
                                                   SOUTHERN DISTRICT OF TEXAS
                                                        HOUSTON DIVISION
   In re:   Gwendolyn Denise Jones                                                                 Case No.
                                                                                                                           (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS
                                                                   Continuation Sheet No. 1



       5. Repossessions, foreclosures and returns
None
       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned
 þ     to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)


       6. Assignments and receiverships
None
       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case.
 þ     (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is
       filed, unless the spouses are separated and a joint petition is not filed.)

None
       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
 þ     commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       7. Gifts
None
       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual
 þ     gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
       per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a
       joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       8. Losses
None
       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
 þ     commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not
       a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       9. Payments related to debt counseling or bankruptcy
None
       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
 ¨     consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement
       of this case.

                                                                      DATE OF PAYMENT,
                                                                      NAME OF PAYER IF                 AMOUNT OF MONEY OR DESCRIPTION
        NAME AND ADDRESS OF PAYEE                                     OTHER THAN DEBTOR                AND VALUE OF PROPERTY
        O.Miller White                                                                                 10/16/07 $600
        Law Ofc of O.Miller White                                                                      12/06/07 $900
        4606 FM 1960 W.,Ste 400
        Houston,Tx 77069

       10. Other transfers
None
       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred
 þ     either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12
       or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)


       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or
None
       similar device of which the debtor is a beneficiary.
 þ
                      Case 08-30952 Document 1 Filed in TXSB on 02/13/08 Page 36 of 48
B7 (Official Form 7) (12/07) - Cont.            UNITED STATES BANKRUPTCY COURT
                                                    SOUTHERN DISTRICT OF TEXAS
                                                         HOUSTON DIVISION
   In re:   Gwendolyn Denise Jones                                                                  Case No.
                                                                                                                           (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS
                                                                    Continuation Sheet No. 2



       11. Closed financial accounts
None
       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise
 þ     transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,
       certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations,
       brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
       accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)


       12. Safe deposit boxes
None
       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately
 þ     preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
       both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       13. Setoffs
None
       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this
 þ     case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)



       14. Property held for another person
None
       List all property owned by another person that the debtor holds or controls.
 þ
       15. Prior address of debtor
None
       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied
 þ     during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either
       spouse.



       16. Spouses and Former Spouses
None
       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
 þ     Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case,
       identify the name of the debtor's spouse and of any former spouse who resides or resided with the debtor in the community property state.


       17. Environmental Information
       For the purpose of this question, the following definitions apply:

       "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic
       substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or
       regulations regulating the cleanup of these substances, wastes, or material.

       "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated
       by the debtor, including, but not limited to, disposal sites.

       "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or
       contaminant or similar term under an Environmental Law.



None a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
 þ     potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
       Environmental Law:
                      Case 08-30952 Document 1 Filed in TXSB on 02/13/08 Page 37 of 48
B7 (Official Form 7) (12/07) - Cont.            UNITED STATES BANKRUPTCY COURT
                                                    SOUTHERN DISTRICT OF TEXAS
                                                         HOUSTON DIVISION
   In re:   Gwendolyn Denise Jones                                                                    Case No.
                                                                                                                              (if known)



                                                  STATEMENT OF FINANCIAL AFFAIRS
                                                                    Continuation Sheet No. 3



None b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material.
 þ     Indicate the governmental unit to which the notice was sent and the date of the notice.



None c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor is
 þ     or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.


       18. Nature, location and name of business
None
       a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
 þ     dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership,
       sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years immediately preceding the
       commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within six years immediately
       preceding the commencement of this case.

       If the debtor is a partnership, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years
       immediately preceding the commencement of this case.

       If the debtor is a corporation, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years
       immediately preceding the commencement of this case.


None
       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.
 þ

       The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has been,
       within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or owner of
       more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole proprietor, or
       self-employed in a trade, profession, or other activity, either full- or part-time.

       (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above, within
       six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
       directly to the signature page.)


       19. Books, records and financial statements
None
       a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or supervised the
 þ     keeping of books of account and records of the debtor.


None
       b. List all firms or individuals who within two years immediately preceding the filing of this bankruptcy case have audited the books of account
 þ     and records, or prepared a financial statement of the debtor.


None
       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records of the
 þ     debtor. If any of the books of account and records are not available, explain.


None
       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was issued by
 þ     the debtor within two years immediately preceding the commencement of this case.
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B7 (Official Form 7) (12/07) - Cont.            UNITED STATES BANKRUPTCY COURT
                                                    SOUTHERN DISTRICT OF TEXAS
                                                         HOUSTON DIVISION
   In re:   Gwendolyn Denise Jones                                                                    Case No.
                                                                                                                               (if known)



                                                  STATEMENT OF FINANCIAL AFFAIRS
                                                                     Continuation Sheet No. 4



       20. Inventories
None
       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory, and the
 þ     dollar amount and basis of each inventory.


None
       b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.
 þ

       21. Current Partners, Officers, Directors and Shareholders
None
       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.
 þ

None
       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns, controls, or
 þ     holds 5 percent or more of the voting or equity securities of the corporation.


       22. Former partners, officers, directors and shareholders
None
       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the commencement
 þ     of this case.


None
       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year immediately
 þ     preceding the commencement of this case.



       23. Withdrawals from a partnership or distributions by a corporation
None
       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any form,
 þ     bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the commencement of this
       case.


       24. Tax Consolidation Group
None
       If the debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation of any consolidated group for tax
 þ     purposes of which the debtor has been a member at any time within six years immediately preceding the commencement of the case.




       25. Pension Funds
None
       If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an employer,
 þ     has been responsible for contributing at any time within six years immediately preceding the commencement of the case.
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B7 (Official Form 7) (12/07) - Cont.      UNITED STATES BANKRUPTCY COURT
                                              SOUTHERN DISTRICT OF TEXAS
                                                   HOUSTON DIVISION
   In re:   Gwendolyn Denise Jones                                                       Case No.
                                                                                                              (if known)



                                           STATEMENT OF FINANCIAL AFFAIRS
                                                            Continuation Sheet No. 5



[If completed by an individual or individual and spouse]

I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any
attachments thereto and that they are true and correct.

Date 02/13/2008                                                Signature         /s/ Gwendolyn Denise Jones
                                                               of Debtor         Gwendolyn Denise Jones

Date                                                           Signature
                                                               of Joint Debtor
                                                               (if any)
Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both.
18 U.S.C. §§ 152 and 3571
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    Official Form 8
    (10/05)
                                           UNITED STATES BANKRUPTCY COURT
                                              SOUTHERN DISTRICT OF TEXAS
                                                   HOUSTON DIVISION
    IN RE:    Gwendolyn Denise Jones                                                      CASE NO

                                                                                          CHAPTER          7

                       CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION


¨    I have filed a schedule of assets and liabilities which includes consumer debts secured by property of the estate.

¨    I have filed a schedule of executory contracts and unexpired leases which includes personal property subject to an unexpired lease.

¨    I intend to do the following with respect to the property of the estate which secures those debts or is subject to a lease:

                                                                                                                 Property will      Debt will be
                                                                                Property       Property         be redeemed          reaffirmed
Description of Secured               Creditor's                                  will be      is claimed         pursuant to        pursuant to
Property                             Name                                     surrendered     as exempt        11 U.S.C. § 722   11 U.S.C. § 524(c)

Computer                             Aaron's                                      ¨               ¨                  ¨                  þ
                                     13530 I 10 East
                                     Houston,Tx 77015
                                     x4741

1506 Taverton                        Wells Fargo Home Mtg                         ¨               ¨                  ¨                  þ
Dr,Channelview,Tx                    POB 10335
                                     Des Moines,IA 50306
                                     xxxxxx9723

                                                                                 Lease will be
Description                                                                    assumed pursuant
of Leased                            Lessor's                                     to 11 U.S.C.
Property                             Name                                        § 362(h)(1)(A)

 None


Date 02/13/2008                                                 Signature    /s/ Gwendolyn Denise Jones
                                                                            Gwendolyn Denise Jones




Date                                                            Signature
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Official Form 22A (Chapter 7) (04/07)
                                                                    According to the calculations required by this statement:
In re: Gwendolyn Denise Jones
                                                                         ¨ The presumption arises.
                                                                         þ The presumption does not arise.
Case Number:                                                        (Check the box as directed in Parts I, III, and VI of this statement.)

      CHAPTER 7 STATEMENT OF CURRENT MONTHLY INCOME AND MEANS-TEST CALCULATION

In addition to Schedule I and J, this statement must be completed by every individual Chapter 7 debtor, whether or not filing jointly,
whose debts are primarily consumer debts. Joint debtors may complete one statement only.

                                      Part I. EXCLUSION FOR DISABLED VETERANS
       If you are a disabled veteran described in the Veteran's Declaration in this Part I, (1) check the box at the beginning of the
       Veteran's Declaration, (2) check the box for "The presumption does not arise" at the top of this statement, and (3) complete
       the verification in Part VIII. Do not complete any of the remaining parts of this statement.

 1     ¨    Veteran's Declaration. By checking this box, I declare under penalty of perjury that I am a disabled veteran (as
       defined in 38 U.S.C. § 3741(1)) whose indebtedness occurred primarily during a period in which I was on active duty (as
       defined in 10 U.S.C. § 101(d)(1)) or while I was performing a homeland defense activity (as defined in 32 U.S.C. § 901(1)).


                    Part II. CALCULATION OF MONTHLY INCOME FOR § 707(b)(7) EXCLUSION
       Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
       a. þ Unmarried. Complete only Column A ("Debtor's Income") for Lines 3-11.
       b. ¨ Married, not filing jointly, with declaration of separate households. By checking this box, debtor declares under
                penalty of perjury: "My spouse and I are legally separated under applicable non-bankruptcy law or my spouse and I
                are living apart other than for the purpose of evading the requirements of § 707(b)(2)(A) of the Bankruptcy Code."
 2
                Complete only Column A ("Debtor's Income") for Lines 3-11.
       c. ¨ Married, not filing jointly, without the declaration of separate households set out in Line 2.b above.
                Complete both Column A ("Debtor's Income") and Column B ("Spouse's Income") for Lines 3-11.
       d. ¨ Married, filing jointly. Complete both Column A ("Debtor's Income") and Column B ("Spouse's Income") for
                Lines 3-11.
       All figures must reflect average monthly income received from all sources, derived
                                                                                                           Column A          Column B
       during the six calendar months prior to filing the bankruptcy case, ending on the last day
       of the month before the filing. If the amount of monthly income varied during the six
                                                                                                             Debtor's        Spouse's
       months, you must divide the six-month total by six, and enter the result on the
                                                                                                              Income          Income
       appropriate line.

 3     Gross wages, salary, tips, bonuses, overtime, commissions.                                               $5,167.50
       Income from the operation of a business, profession, or farm. Subtract Line b from
       Line a and enter the difference in the appropriate column(s) of Line 4. Do not enter a
       number less than zero. Do not include any part of the business expenses entered on
 4     Line b as a deduction in Part V.
         a.   Gross receipts                                               $0.00
         b.   Ordinary and necessary business expenses                     $0.00
        c. Business income                                     Subtract Line b from Line a                          $0.00
       Rent and other real property income. Subtract Line b from Line a and enter the
       difference in the appropriate column(s) of Line 5. Do not enter a number less than zero.
       Do not include any part of the operating expenses entered on Line b as a deduction in
 5     Part V.
        a. Gross receipts                                                $0.00
         b.   Ordinary and necessary operating expenses                    $0.00
         c.   Rent and other real property income                Subtract Line b from Line a                        $0.00
 6     Interest, dividends, and royalties.                                                                          $0.00

 7     Pension and retirement income.                                                                               $0.00

       Any amounts paid by another person or entity, on a regular basis, for the household
 8
       expenses of the debtor or the debtor's dependents, including child or spousal support.
                                                                                                                    $0.00
       Do not include amounts paid by the debtor's spouse if Column B is completed.




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       Unemployment compensation. Enter the amount in the appropriate column(s) of Line 9.
       However, if you contend that unemployment compensation received by you or your
       spouse was a benefit under the Social Security Act, do not list the amount of such
 9     compensation in Column A or B, but instead state the amount in the space below:

         Unemployment compensation claimed to be a                     Debtor            Spouse
         benefit under the Social Security Act
                                                                            $0.00                                  $0.00
       Income from all other sources. If necessary, list additional sources on a separate page.
       Do not includeany benefits received under the Social Security Act or payments received as
       a victim of a war crime, crime against humanity, or as a victim of international or
       domestic terrorism. Specify source and amount.
 10
         a.

         b.
       Total and enter on Line 10                                                                                  $0.00
       Subtotal of Current Monthly Income for § 707(b)(7). Add Lines 3 thru 10 in Column A,
 11                                                                                                             $5,167.50
       and, if Column B is completed, add Lines 3 through 10 in Column B. Enter the total(s).
       Total Current Monthly Income for § 707(b)(7). If Column B has been completed, add
 12    Line 11, Column A to Line 11, Column B, and enter the total. If Column B has not been
       completed, enter the amount from Line 11, Column A.                                                              $5,167.50


                                      Part III. APPLICATION of § 707(b)(7) EXCLUSION
 13    Annualized Current Monthly Income for § 707(b)(7). Multiply the amount from Line 12 by the number 12
       and enter the result.                                                                                                  $62,010.00
       Applicable median family income. Enter the median family income for the applicable state and household
       size. (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of the bankruptcy
 14
       court.)

       a. Enter debtor's state of residence:             Texas              b. Enter debtor's household size:       2         $49,933.00
       Application of Section 707(b)(7). Check the applicable box and proceed as directed.

       ¨      The amount on Line 13 is less than or equal to the amount on Line 14. Check the box for "The presumption does not
 15           arise" at the top of page 1 of this statement, and complete Part VIII; do not complete Parts IV, V, VI, or VII.

       þ      The amount on Line 13 is more than the amount on Line 14. Complete the remaining parts of this statement.
                          Complete Parts IV, V, VI, and VII of this statement only if required. (See Line 15.)
                     Part IV. CALCULATION OF CURRENT MONTHLY INCOME FOR § 707(b)(2)
 16    Enter the amount from Line 12.                                                                                           $5,167.50

       Marital adjustment. If you checked the box at Line 2.c, enter the amount of the income listed in Line 11,
 17    Column B that was NOT paid on a regular basis for the household expenses of the debtor or the debtor's
       dependents. If you did not check the box at Line 2.c, enter zero.

 18    Current monthly income for § 707(b)(2). Subtract Line 17 from Line 16 and enter the result.                              $5,167.50


                       Part V. CALCULATION OF DEDUCTIONS ALLOWED UNDER § 707(b)(2)
                        Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
       National Standards: food, clothing, household supplies, personal care, and miscellaneous.
 19    Enter "Total" amount from IRS National Standards for Allowable Living Expenses for the applicable family
                                                                                                                                    $904.00
       size and income level. (This information is available at www.usdoj.gov/ust/ or from the clerk of the
       bankruptcy court.)

       Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS Housing
       and Utilities Standards; non-mortgage expenses for the applicable county and family size. (This
 20A                                                                                                                                $374.00
       information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)




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                 Case 08-30952 Document 1 Filed in TXSB on 02/13/08 Page 43 of 48
       Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of the
       IRS Housing and Utilities Standards; mortgage/rent expense for your county and family size (this
       information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter on Line b the
 20B   total of the Average Monthly Payments for any debts secured by your home, as stated in Line 42; subtract
       Line b from Line a and enter the result in Line 20B. DO NOT ENTER AN AMOUNT LESS THAN ZERO.

         a.   IRS Housing and Utilities Standards; mortgage/rental expense                                     $748.00
         b.   Average Monthly Payment for any debts secured by your home, if
              any, as stated in Line 42                                                                        $903.00

         c.   Net mortgage/rental expense                                               Subtract Line b from Line a.        $0.00
       Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 20A
       and 20B does not accurately compute the allowance to which you are entitled under the IRS Housing and
 21    Utilities Standards, enter any additional amount to which you contend you are entitled, and state the basis
       for your contention in the space below:



       Local Standards: transportation; vehicle operation/public transportation expense.
       You are entitled to an expense allowance in this category regardless of whether you pay the expenses of
       operating a vehicle and regardless of whether you use public transportation.
 22    Check the number of vehicles for which you pay the operating expenses or for which the operating expenses
       are included as a contribution to your household expenses in Line 8.   ¨ 0 þ 1 ¨ 2 or more
       Enter the amount from IRS Transportation Standards, Operating Costs & Public Transportation Costs for
       the applicable number of vehicles in the applicable Metropolitan Statistical Area or Census Region. (This
                                                                                                                          $338.00
       information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)
       Local Standards: transportation ownership/lease expense; Vehicle 1.
       Check the number of vehicles for which you claim an ownership/lease expense. (You may not claim an
       ownership/lease expense for more than two vehicles.)         þ 1 ¨ 2 or more
       Enter, in Line a below, the amount of the IRS Transportation Standards, Ownership Costs, First Car
       (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
       Average Monthly Payments for any debts secured by Vehicle 1, as stated in Line 42; subtract Line b from
 23    Line a and enter the result in Line 23. DO NOT ENTER AN AMOUNT LESS THAN ZERO.

         a.   IRS Transportation Standards, Ownership Costs, First Car                                         $471.00
         b.   Average Monthly Payment for any debts secured by Vehicle 1, as
              stated in Line 42                                                                                   $0.00

         c.   Net ownership/lease expense for Vehicle 1                                 Subtract Line b from Line a.      $471.00
       Local Standards: transportation ownership/lease expense; Vehicle 2.
       Complete this Line only if you checked the "2 or more" Box in Line 23.
       Enter, in Line a below, the amount of the IRS Transportation Standards, Ownership Costs, Second Car
       (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
       Average Monthly Payments for any debts secured by Vehicle 2, as stated in Line 42; subtract Line b from
 24    Line a and enter the result in Line 24. DO NOT ENTER AN AMOUNT LESS THAN ZERO.

         a.   IRS Transportation Standards, Ownership Costs, Second Car
         b.   Average Monthly Payments for debts secured by Vehicle 2, as
              stated in Line 42
         c.   Net ownership/lease expense for Vehicle 2                                 Subtract Line b from Line a.
       Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all
       federal, state, and local taxes, other than real estate and sales taxes, such as income taxes, self
 25    employment taxes, social security taxes, and Medicare taxes. DO NOT INCLUDE REAL ESTATE OR
       SALES TAXES.                                                                                                       $524.00
       Other Necessary Expenses: mandatory payroll deductions. Enter the total average monthly payroll
       deductions that are required for your employment, such as mandatory retirement contributions, union
 26    dues, and uniform costs. DO NOT INCLUDE DISCRETIONARY AMOUNTS, SUCH AS NON-MANDATORY
       401(K) CONTRIBUTIONS.                                                                                              $346.00
       Other Necessary Expenses: life insurance. Enter average monthly premiums that you actually pay for
 27    term life insurance for yourself. DO NOT INCLUDE PREMIUMS FOR INSURANCE ON YOUR
       DEPENDENTS, FOR WHOLE LIFE OR FOR ANY OTHER FORM OF INSURANCE.                                                      $47.00



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       Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are
 28    required to pay pursuant to court order, such as spousal or child support payments. DO NOT INCLUDE                $0.00
       PAYMENTS ON PAST DUE SUPPORT OBLIGATIONS INCLUDED IN LINE 44.
       Other Necessary Expenses: education for employment or for a physically or mentally challenged child.
       Enter the total monthly amount that you actually expend for education that is a condition of employment
 29    and for education that is required for a physically or mentally challenged dependent child for whom no            $0.00
       public education providing similar services is available.

 30    Other Necessary Expenses: childcare. Enter the average monthly amount that you actually expend on
       childcare--such as baby-sitting, day care, nursery and preschool. DO NOT INCLUDE OTHER                          $140.00
       EDUCATIONAL PAYMENTS.
       Other Necessary Expenses: health care. Enter the average monthly amount that you actually expend on
 31    health care expenses that are not reimbursed by insurance or paid by a health savings account. DO NOT
       INCLUDE PAYMENTS FOR HEALTH INSURANCE OR HEALTH SAVINGS ACCOUNTS LISTED IN LINE 34.                             $140.00

       Other Necessary Expenses: telecommunication services. Enter the average monthly amount that you
       actually pay for telecommunication services other than your basic home telephone service--such as cell
                                                                                                                       $139.00
 32    phones, pagers, call waiting, caller id, special long distance, or internet service--to the extent necessary
       for your health and welfare or that of your dependents. DO NOT INCLUDE ANY AMOUNT PREVIOUSLY
       DEDUCTED.
 33    Total Expenses Allowed under IRS Standards. Enter the total of Lines 19 through 32.                            $3,423.00
                                  Subpart B: Additional Expense Deductions under § 707(b)
                            Note: Do not include any expenses that you have listed in Lines 19-32
       Health Insurance, Disability Insurance, and Health Savings Account Expenses. List and total the
       average monthly amounts that you actually pay for yourself, your spouse, or your dependents in the following
       categories.
 34     a. Health Insurance                                                                       $566.00
         b.   Disability Insurance                                                                       $48.00
         c.   Health Savings Account                                                                      $0.00
                                                                                        Total: Add Lines a, b and c    $614.00
       Continued contributions to the care of household or family members. Enter the actual monthly expenses
       that you will continue to pay for the reasonable and necessary care and support of an elderly, chronically
 35    ill, or disabled member of your household or member of your immediate family who is unable to pay for           $220.00
       such expenses.
       Protection against family violence. Enter any average monthly expenses that you actually incurred to
 36    maintain the safety of your family under the Family Violence Prevention and Services Act or other
       applicable federal law. The nature of these expenses is required to be kept confidential by the court.            $0.00

       Home energy costs. Enter the average monthly amount, in excess of the allowance specified by IRS Local
       Standards for Housing and Utilities, that you actually expend for home energy costs. YOU MUST PROVIDE
 37    YOUR CASE TRUSTEE WITH DOCUMENTATION DEMONSTRATING THAT THE ADDITIONAL AMOUNT
       CLAIMED IS REASONABLE AND NECESSARY.


       Education expenses for dependent children less than 18. Enter the average monthly expenses that you
       actually incur, not to exceed $137.50 per child, in providing elementary and secondary education for your
 38    dependent children less than 18 years of age. YOU MUST PROVIDE YOUR CASE TRUSTEE WITH                           $100.00
       DOCUMENTATION DEMONSTRATING THAT THE AMOUNT CLAIMED IS REASONABLE AND
       NECESSARY AND NOT ALREADY ACCOUNTED FOR IN THE IRS STANDARDS.

       Additional food and clothing expense. Enter the average monthly amount by which your food and clothing
       expenses exceed the combined allowances for food and apparel in the IRS National Standards, not to
       exceed five percent of those combined allowances. (This information is available at www.usdoj.gov/ust/ or
 39    from the clerk of the bankruptcy court.) YOU MUST PROVIDE YOUR CASE TRUSTEE WITH
       DOCUMENTATION DEMONSTRATING THAT THE ADDITIONAL AMOUNT CLAIMED IS REASONABLE AND
       NECESSARY.
       Continued charitable contributions. Enter the amount that you will continue to contribute in the form of        $160.00
 40    cash or financial instruments to a charitable organization as defined in 26 U.S.C. § 170(c)(1)-(2).
 41    Total Additional Expense Deductions under § 707(b). Enter the total of Lines 34 through 40.                    $1,094.00




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                                              Subpart C: Deductions for Debt Payment
       Future payments on secured claims. For each of your debts that is secured by an interest in property that
       you own, list the name of creditor, identify the property securing the debt, and state the Average Monthly
       Payment. The Average Monthly Payment is the total of all amounts contractually due to each Secured
       Creditor in the 60 months following the filing of the bankruptcy case, divided by 60. Mortgage debts should
       include payments of taxes and insurance required by the mortgage. If necessary, list additional entries on
       a separate page.
 42                     Name of Creditor                Property Securing the Debt        60-month Average Payment
         a.   Aaron's                                Computer                                                     $7.20
         b.   Wells Fargo Home Mtg                   1506 Taverton Dr,Channelview,Tx                           $903.00
         c.
                                                                                          Total: Add Lines a, b and c.         $910.20
       Other payments on secured claims. If any of the debts listed in Line 42 are secured by your primary
       residence, a motor vehicle, or other property necessary for your support or the support of your dependents,
       you may include in your deduction 1/60th of any amount (the "cure amount") that you must pay the creditor
       in addition to the payments listed in Line 42, in order to maintain possession of the property. The cure
       amount would include any sums in default that must be paid in order to avoid repossession or
       foreclosure. List and total any such amounts in the following chart. If necessary, list additional entries on
       a separate page.
                        Name of Creditor                Property Securing the Debt         1/60th of the Cure Amount
         a.
 43      b.
         c.
                                                                                          Total: Add Lines a, b and c            $0.00
       Payments on priority claims. Enter the total amount of all priority claims (including priority child support
 44    and alimony claims), divided by 60.                                                                                       $0.00
       Chapter 13 administrative expenses. If you are eligible to file a case under Chapter 13, complete the
       following chart, multiply the amount in Line a by the amount in Line b, and enter the resulting
       administrative expense.

         a.   Projected average monthly Chapter 13 plan payment.                                                $0.00

         b.   Current multiplier for your district as determined under schedules
              issued by the Executive Office for United States Trustees. (This
 45
              information is available at www.usdoj.gov/ust/ or from the clerk of
              the bankruptcy court.)
                                                                                                                   8.7 %

         c.   Average monthly administrative expense of Chapter 13 case                   Total: Multiply Lines a and b          $0.00
 46    Total Deductions for Debt Payment. Enter the total of Lines 42 through 45.                                              $910.20
                                     Subpart D: Total Deductions Allowed under § 707(b)(2)
 47    Total of all deductions allowed under § 707(b)(2). Enter the total of Lines 33, 41, and 46.                           $5,427.20


                                Part VI. DETERMINATION OF § 707(b)(2) PRESUMPTION
 48    Enter the amount from Line 18 (Current monthly income for § 707(b)(2))                                                $5,167.50

 49    Enter the amount from Line 47 (Total of all deductions allowed under § 707(b)(2))                                     $5,427.20

 50    Monthly disposable income under § 707(b)(2). Subtract Line 49 from Line 48 and enter the result.                      ($259.70)

       60-month disposable income under § 707(b)(2). Multiply the amount in Line 50 by the number 60 and
 51                                                                                                                        ($15,582.00)
       enter the result.




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       Initial presumption determination. Check the applicable box and proceed as directed.

       þ      The amount on Line 51 is less than $6,575. Check the box for "The presumption does not arise" at the top of page 1 of
              this statement, and complete the verification in Part VIII. Do not complete the remainder of Part VI.

 52    ¨      The amount set forth on Line 51 is more than $10,950. Check the box for "The presumption arises" at the top of page 1
              of this statement, and complete the verification in Part VIII. You may also complete Part VII. Do not complete the
              remainder of Part VI.
       ¨      The amount on Line 51 is at least $6,575, but not more than $10,950. Complete the remainder of Part VI (Lines 53
              through 55).
 53    Enter the amount of your total non-priority unsecured debt

 54    Threshold debt payment amount. Multiply the amount in Line 53 by the number 0.25 and enter the result.

       Secondary presumption determination. Check the applicable box and proceed as directed.

       ¨      The amount on Line 51 is less than the amount on Line 54. Check the box for "The presumption does not arise" at the
 55
              top of page 1 of this statement, and complete the verification in Part VIII.

       ¨      The amount on Line 51 is equal to or greater than the amount on Line 54. Check the box for "The presumption arises"
              at the top of page 1 of this statement, and complete the verification in Part VIII. You may also complete Part VII.




                                           Part VII: ADDITIONAL EXPENSE CLAIMS
       Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health
       and welfare of you and your family and that you contend should be an additional deduction from your current monthly income
       under § 707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect your average
       monthly expense for each item. Total the expenses.


 56                                           Expense Description                                                   Monthly Amount

         a.
         b.

         c.
                                                                         Total: Add Lines a, b, and c



                                                      Part VIII: VERIFICATION
       I declare under penalty of perjury that the information provided in this statement is true and correct.
       (If this is a joint case, both debtors must sign.)



 57             Date: 02/13/2008                            Signature:     /s/ Gwendolyn Denise Jones
                                                                                                 (Debtor)


                Date:                                       Signature:
                                                                                           (Joint Debtor, if any)




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B201 (10/05)                              UNITED STATES BANKRUPTCY COURT
                                             SOUTHERN DISTRICT OF TEXAS
                                                  HOUSTON DIVISION
IN RE:   Gwendolyn Denise Jones




                    NOTICE TO INDIVIDUAL CONSUMER DEBTOR(S) UNDER § 342(b)
                                    OF THE BANKRUPTCY CODE
In accordance with § 342(b) of the Bankruptcy Code, this notice: (1) Describes briefly the services available from credit
counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of bankruptcy proceedings you may
commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General may examine all information
you supply in connection with a bankruptcy case. You are cautioned that bankruptcy law is complicated and not easily
described. Thus, you may wish to seek the advice of an attorney to learn of your rights and responsibilities should you decide to
file a petition. Court employees cannot give you legal advice.


1. Services Available from Credit Counseling Agencies
With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy relief on
or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and provides
assistance in performing a budget analysis. The briefing must be given within 180 days BEFORE the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator.
The clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies.

In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

Chapter 7:     Liquidation ($155 filing fee, $39 administrative fee, $15 trustee surcharge: Total fee $209)
1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted
to proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in
some cases, creditors have the right to file a motion requesting that the court dismiss your case under § 707(b) of the Code. It
is up to the court to decide whether the case should be dismissed.

2. Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.

3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it
does, the purpose for which you filed the bankruptcy petition will be defeated.

4. Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property
settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not
properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or
aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty,
or theft, or from a willful and malicious injury, the bankruptcy court may determine that the debt is not discharged.

Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income
($146 filing fee, $39 administrative fee: Total fee $185)
1. Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over
a period of time. You are eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.

2. Under Chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using
your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
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B201 (10/05)                              UNITED STATES BANKRUPTCY COURT                                                              Page 2
                                             SOUTHERN DISTRICT OF TEXAS
                                                  HOUSTON DIVISION
IN RE:   Gwendolyn Denise Jones




3. After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in
your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.

Chapter 11: Reorganization ($791 filing fee, $39 administrative fee: Total fee $830)
Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

Chapter 12: Family Farmer or Fisherman               ($191 filing fee, $39 administrative fee: Total fee $230)
Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily
from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the
United States Trustee, the Office of the United States Attorney, and other components and employees of the Department of
Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this
information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local
rules of the court.

                          Certificate of Compliance with § 342(b) of the Bankruptcy Code
I,                O. Miller White                    , counsel for Debtor(s), hereby certify that I delivered to the Debtor(s) the Notice
required by § 342(b) of the Bankruptcy Code.

/s/ O. Miller White
O. Miller White, Attorney for Debtor(s)
Bar No.: 00786342
Law Office of O. Miller White
4606 F M 1960 West
Suite 400
Houston, Tx. 77069
Phone: (281) 315-8810
Fax: (281) 315-8863




                                                     Certificate of the Debtor
I (We), the debtor(s), affirm that I (we) have received and read this notice.

Gwendolyn Denise Jones                                                 X /s/ Gwendolyn Denise Jones                     02/13/2008
                                                                        Signature of Debtor                             Date
Printed Name(s) of Debtor(s)
                                                                       X
Case No. (if known)                                                        Signature of Joint Debtor (if any)           Date
